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 8                               IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                        2:17-CR-00232-GEB
12                 Plaintiff,
                                                      PRELIMINARY ORDER OF
13          v.                                        FORFEITURE
14   YANIV GOHAR,
15                 Defendant.
16

17          Based upon the plea agreement entered into between plaintiff United States of America and

18 defendant Yaniv Gohar, it is hereby ORDERED, ADJUDGED AND DECREED as follows:

19          1.     Pursuant to 18 U.S.C. § 981(a)(1)(C), 18 U.S.C. § 1955(d), and 28 U.S.C. § 2461(c),

20 defendant Yaniv Gohar’s interest in the following property shall be condemned and forfeited to the United

21 States of America, to be disposed of according to law:

22                 a.      Approximately $8,427.00 in U.S. Currency;

23                 b.      Approximately $1,224.00 in U.S. Currency;

24                 c.      Approximately $20.00 in U.S. Currency;

25                 d.      Approximately $276.00 in U.S. Currency;

26                 e.      Approximately $273.00 in U.S. Currency;

27                 f.      Approximately $746.00 in U.S. Currency;

28                 g.      Approximately $437.00 in U.S. Currency; and
                                                       1
29                                                                           Preliminary Order of Forfeiture

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 1                  h.      Approximately $138.00 in U.S. Currency.

 2          2.      The above-listed property constitutes property involved in and/or property traceable to

 3 violations of 18 U.S.C. § 1955 and 18 U.S.C. § 1956(h).

 4          3.      Pursuant to Rule 32.2(b), the Attorney General (or a designee) shall be authorized to seize

 5 the above-listed property. The aforementioned property shall be seized and held by the U.S. Marshals

 6 Service, in its secure custody and control.

 7          4.      a.      Pursuant to 18 U.S.C.§ 982(b)(1) and 28 U.S.C. § 2461(c), 21 U.S.C. § 853(n) and

 8 Local Rule 171, the United States shall publish notice of the order of forfeiture. Notice of this Order and
 9 notice of the Attorney General’s (or a designee’s) intent to dispose of the property in such manner as the

10 Attorney General may direct shall be posted for at least 30 consecutive days on the official internet

11 government forfeiture site www.forfeiture.gov. The United States may also, to the extent practicable,

12 provide direct written notice to any person known to have alleged an interest in the property that is the

13 subject of the order of forfeiture as a substitute for published notice as to those persons so notified.

14                  b.      This notice shall state that any person, other than the defendant, asserting a legal

15 interest in the above-listed property, must file a petition with the Court within sixty (60) days from the

16 first day of publication of the Notice of Forfeiture posted on the official government forfeiture site, or

17 within thirty (30) days from the receipt of direct written notice, whichever is earlier.

18          5.      If a petition is timely filed, upon adjudication of all third-party interests, if any, this Court

19 will enter a Final Order of Forfeiture pursuant to 18 U.S.C. § 981(a)(1)(C), 18 U.S.C. § 1955(d), and 28
20 U.S.C. § 2461(c), in which all interests will be addressed.

21          SO ORDERED.
     Dated: December 17, 2019
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29                                                                                  Preliminary Order of Forfeiture

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